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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 9:22-mc-81229-DMM

 In re: Application Pursuant to
 28 U.S.C.§ 1782 of

 FARHAD AZIMA

         Petitioner,

 v.

 GLOBAL IMPACT SERVICES, LLC,
 EITAN ARUSY, & TRUIST FINANCIAL
 CORP.

         Respondent.
                                              /

                                  MOTION TO TRANSFER CASE

        Petitioner, Farhad Azima (“Azima”), by and through its undersigned counsel, hereby moves
 to transfer this action to Judge Jose E. Martinez pursuant to 28 U.S.C. §1404. Petitioner has a
 similar action for discovery in aid of foreign proceedings pursuant to 28 U.S.C. § 1782, based on
 all of the same background facts and procedural history, pending before Judge Martinez (see case
 no. 22-mc-20707-JEM). That related case was filed on March 8, 2022 and has had significant
 briefings and multiple hearings, much of which also relates to this application and proceeding. This
 matter was docketed as a related case on the civil cover sheet, but was assigned to your Honor. At
 this time, for efficiency, Petitioner respectfully moves that the case be transferred to Judge
 Martinez.
                                                  Respectfully submitted,

 Dated: August 23, 2022                           s/ Vanessa Singh Johannes
                                                  Michael S. Pasano (FBN 475947)
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                                                  Vanessa Singh Johannes (FBN 1028744)
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                                           /s/ Kirby D. Behre
                                           Kirby D. Behre (pro hac vice to be filed)
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                                           Counsel for Petitioner

                                CERTIFICATE OF SERVICE

        I CERTIFY THAT, on August 23, 2022, the foregoing was electronically transmitted via

 CM/ECF and was sent via FedEx to the following recipient:

        Global Impact Services, LLC
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        214 N. Tyron Street
        Charlotte, NC 28202



                                           s/ Vanessa Singh Johannes
                                           Vanessa Singh Johannes




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